  Case 20-30208        Doc 135      Filed 03/19/22 Entered 03/19/22 02:48:02                Desc Main
                                     Document     Page 1 of 3


                        UNITED STATES BANKRUPTCY COURT
                       WESTERN DISTRICT OF NORTH CAROLINA
                              CHARLOTTE DIVISION

In Re:                                          )
                                                )        Case No. 20-30208
CALVIN RAY KENNEDY                              )        Chapter 11
CYNTHIA M. KENNEDY                              )
                                                )
                       Debtors.


OBJECTION AND RESPONSE OF DEBTORS TO APPLICATION OF WILMINGTON
SAVINGS FUND SOCIETY FOR ATTORNEY’S FEES AND EXPENSES [DOC. 133] IN
 THE AMOUNT OF $72,807.85; REQUEST FOR CONTINUANCE OF HEARING TO
                         CONDUCT DISCOVERY


        The Debtors object to the Application of Wilmington Savings Fund Society, FSB, d/b/a
Christiana Trust (“Wilmington”), not in its individual capacity but solely as Owner Trustee of
Residential Credit Opportunities Trust, II (“RCOT”) for Attorney’s Fees and Expenses (the
“Application”) in the amount of $72,807.85. In the circumstances of this case, the fees and expenses
requested are egregious and represent time which was not reasonably necessary to protect the interest
of the secured party.

        The hearing on the Application is currently set for March 29, 2022. Counsel for the Debtors
will be out of town from March 16, 2022 through March 27, 2022, and does not have sufficient time
to do the necessary discovery in this contested matter or to prepare for the hearing. The Debtors
request at least a ninety-day continuance of the hearing.

       In partial support of their objection (to be amended subsequent to discovery), the Debtors
show the court that:

   1. Upon information and belief, PHH Mortgage Corporation (“PHH”) at all times relevant
      hereto has acted as the servicing agent for Wilmington and/or RCOT, one of which is
      ostensibly the owner of the debt.

   2. As of the filing date of the Chapter 11 petition, the Debtors’ payments on the debt were current.

   3. Subsequent to the Chapter 11 filing, due to the Covid epidemic, the Debtors missed, upon
      information and belief, two monthly payments. These missed payments were paid by the
      Debtors several months later. The loan was current during most of this proceeding.

   4. The Debtors own multiple parcels of real property, including i) their residence, ii) a lot adjoining
      their residence, iii) a vacant lot in Iredell County; iv) two separate parcels of real property which
      are leased to the Ramsey-Peele Corporation (“Ramsey-Peele”) and used in its day care center
      operations.
Case 20-30208       Doc 135      Filed 03/19/22 Entered 03/19/22 02:48:02               Desc Main
                                  Document     Page 2 of 3


 5. The Debtors have always kept current on the payment of ad valorem taxes owed on the
    collateral or Wilmington and/or RCOT.

 6. The Debtors have always kept the collateral of Wilmington and/or RCOT adequately insured.

 7. The Debtors are already paying contractual 7.75% interest to Wilmington and/or RCOT on
    the loan, and during this proceeding PHH, Wilmington and/or RCOT sought to add an
    additional 4.0% default rate, for an aggregate interest rate of 11.75%.

 8. At all times relevant hereto, Wilmington, PHH and/or RCOT knew or should have known that
    the source of payments on the indebtedness was the day care operations of Ramsey-Peele
    Corp., a corporation wholly owned by the Debtors. Nevertheless, Wilmington, PHH and/or
    RCOT determined that it was necessary to enjoin the use of rent to pay the debt. And to have
    multiple continuances of the hearing on such relief, and obtain multiple redundant orders,
    during the course of this proceeding.

 9. Upon information and belief, Wilmington, PHH and/or RCOT have at all relevant times been
    aware that its collateral had been appraised for the aggregate amount of $5,405,000.00 in 2016
    and 2017...more than $1.4 million more than the debt. Wilmington, PHH and/or RCOT are
    and have been substantially oversecured.

 10. Despite the fact that the Debtors own multiple parcels of real property, and that such property
     has mixed uses (two parcels for business, two parcels personal residential, and one parcel
     investment), Wilmington, PHH and/or RCOT asked this court to determine that this was a
     single asset real estate case. These same parties also filed a Motion for Relief from stay which
     was abandoned and not pursued.

 11. The Debtors attempted to negotiate plan treatment of the Wilmington and/or RCOT debt very
     early in this case, but all reasonable offers were rebuffed. Wilmington and/or RCOT
     determined that the Debtors should sell the commercial properties, discontinue daycare
     operations, and displace hundreds of children during the pandemic.

 12. PHH, Wilmington and/or RCOT determined for unknown reasons that the guarantor of the
     loan, Ramsey Peele, should be sued in state court. A lawsuit was filed in November, 2020 and
     a significant amount of the requested fees were incurred in this useless action. PHH,
     Wilmington and/or RCOT were aware of the financial condition of Ramsey-Peele because of
     the periodic reports which were filed with this court. Ramsey Peele did not have assets justifying
     the expense of the state court action.

 13. The costs associated with this state court action were not reasonable and the action served no
     purpose whatsoever...except to increase the claim for attorney’s fees and expenses. The fees
     and expenses related to the state court lawsuit are not broken out from other fees, and it will
     take significant time to do so.

 14. PHH, Wilmington and/or RCOT appear to be attempting to charge the Debtors for legal fees
     related to mistakes made by PHH, Wilmington and/or RCOT. These include the improper use
     of funds in escrow.
  Case 20-30208        Doc 135      Filed 03/19/22 Entered 03/19/22 02:48:02                Desc Main
                                     Document     Page 3 of 3


   15. In their confirmed plan, the Debtors consented to the payment of $20,000.00 to Wilmington
       Savings on account of an alleged claim for default interest. Default interest is intended to
       compensate a lender for the additional cost result from a borrower’s default. Charging the
       Debtors legal fees and default interest is essentially charging the Debtors twice for the same
       thing.

   16. The Debtor’s plans were simple. PHH, Wilmington and/or RCOT failed to exercise restraint
       in the fees and expenses incurred in connection with this matter. PHH, Wilmington and/or
       RCOT exhibited excessive caution, overzealous advocacy and hyperactive legal efforts.

   17. The burden of proof as to the allowance of attorney’s fees and expenses is on PHH,
       Wilmington and/or RCOT. The Application does not analyze all of the relevant factors and
       does not meet the burden of proof.

   18. The Debtors need time to conduct discovery. Such discovery will allow the Debtors to more
       clearly demonstrate to the court that the requested fees and expenses are wholly unreasonable,
       for reasons including but not limited to: i) the value of Wilmington Savings’ collateral has greatly
       exceeded the debt owed, and as such Wilmington Savings has been more than adequately
       protected throughout this proceeding; and ii) the majority of the legal services were not
       necessary to protect the client’s interest.

   19. The Debtors also intends to conduct discovery to obtain copies of any agreements and
       correspondence between Wilmington, PHH, RCOT or any other party driving the decision-
       making process in this case. The Debtors believe that the evidence will show that PHH
       employees and others were making litigation decisions based on what they believed was
       necessary to protect PHH interests...as opposed to Wilmington’s interests... under the servicing
       agreement or agreements.

   20. The ultimate result of the case was maintaining the status quo, moving forward under the pre-
       petition agreements. The legal fees and expenses being requested ultimately accomplished little
       if anything.

        WHEREFORE, the Debtors request that the hearing on this matter be continued, and that
ultimately the relief sought in the Application be denied.

       Dated: March 19, 2022.

                                                        THE HENDERSON LAW FIRM

                                                         /s/James H. Henderson
                                                        James H. Henderson
                                                        State Bar No. 13536
                                                        2030 South Tryon St., Ste. 3H
                                                        Charlotte NC 28203
                                                        Telephone:     704.333.3444
                                                        Facsimile:     704.333.5003
                                                        Email:         henderson@title11.com
